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         NOT YET SCHEDULED FOR ORAL ARGUMENT
                       No. 23-7173

           In the United States Court of Appeals for the
                       District of Columbia
                             DAVID O’CONNELL,
                             Plaintiff-Appellee,
                                      v.
           UNITED STATES CONFERENCE OF CATHOLIC BISHOPS,
                       Defendant-Appellant.


Appeal from the United States District Court for the District of Columbia
                        Honorable Jia M. Cobb
                         (1:20-cv-01365-JMC)
______________________________________________________________________________

                         NOTICE OF ERRATA
______________________________________________________________________________


   It has come to the undersigned’s attention that Appellant’s Opening

Brief contains typographical formatting errors in three headings. These

errors appear on pages 10, 12, and 14. In corrected form, the headings

appear as follows:

III. The United States Conference of Catholic Bishops
…
IV. O’Connell’s Offering to the Pope
…
V.   Procedural Background




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  Undersigned counsel has attached a copy of the Opening Brief correct-

ing the typographical formatting errors. The word count is updated ac-

cordingly to 12,967 words, and the conclusion page and certificate of ser-

vice are updated to reflect today’s filing date. No other changes to the
brief were made. The physical copy of the brief mailed to the Court is the

corrected version.




                                        Respectfully submitted,

                                        /s/ Daniel H. Blomberg
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  September 10, 2024




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                  CERTIFICATE OF COMPLIANCE

  I hereby certify that:

  This notice complies with the typeface and type-style requirements of
Fed. R. App. P. 32(a)(5), (6) because this motion has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point font.

                                          /s/ Daniel H. Blomberg
                                          Daniel H. Blomberg




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                      CERTIFICATE OF SERVICE

  I certify that on September 10, 2024, a copy of the foregoing was filed

with the Clerk of the Court’s electronic filing system, which is designed to
serve all counsel of record.

                                           /s/ Daniel H. Blomberg
                                           Daniel H. Blomberg




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